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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION                                                            ENTERED
                                                                                                               05/28/2020
                                                                   §
In re:                                                             § Chapter 11
                                                                   §
SHERIDAN HOLDING COMPANY I, LLC, et al.,1                          § Case No. 20-31885 (DRJ)
                                                                   §
                                    Reorganized Debtors.           § (Jointly Administered)
                                                                   §

      ORDER GRANTING FIRST AND FINAL FEE APPLICATION OF EVERCORE
    GROUP L.L.C., PROPOSED INVESTMENT BANKER AND FINANCIAL ADVISOR
     TO THE DEBTORS AND DEBTORS IN POSSESSION, FOR ALLOWANCE AND
    PAYMENT OF AN ADMINISTRATIVE EXPENSE CLAIM FOR PROFESSIONAL
     SERVICES RENDERED FROM MARCH 23, 2020 THROUGH AND INCLUDING
                              MARCH 24, 2020
                               (Docket No. 153)

         Upon consideration of the First and Final Fee Application of Evercore Group L.L.C.,

Proposed Investment Banker and Financial Advisor to the Debtors and Debtors in Possession,

for Allowance and Payment of an Administrative Expense Claim for Compensation from March

23, 2020 through and including March 24, 2020 (the “Application”), and good cause existing

therefor,

         It is hereby ORDERED, ADJUDGED, AND DECREED that:

         (i)      The Application is APPROVED, and the amount of $2,257,411.00 in fees and

                  expenses is allowed in full on a final basis.




1
     The Reorganized Debtors in these chapter 11 cases, along with the last four digits of each Reorganized Debtor’s
     federal tax identification number, include: Sheridan Holding Company I, LLC (7648); Sheridan Investment
     Partners I, LLC (8607); Sheridan Production Partners I, LLC (8094); Sheridan Production Partners I-A, L.P.
     (8100); Sheridan Production Partners I-B, L.P. (8104); Sheridan Production Partners I-M, L.P. (8106); and SPP
     I-B GP, LLC (8092). The location of the Reorganized Debtors’ service address is: 1360 Post Oak Blvd., Suite
     2500, Houston, Texas 77056.
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      (ii)   To the extent not already paid, the Debtors are authorized to

             promptly pay to Evercore Group L.L.C. allowed fees and expenses in the amount

             of $2,257,411.00.



                    May____
           Signed: this
It is so ORDERED        28, 2020.
                            day of ________________, 2020.
                                                  ____________________________________
                                                  DAVID R. JONES
                                                  UNITED STATES BANKRUPTCY JUDGE
